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EXHIBIT 3

Case 3:22-cv-00049-NKM-JCH Document 302-3 Filed 10/10/23 Page 2 of 2 Pageid#: 3746

From: D. Yerushalmi <dyerushalmi@americanfreedomlawcenter.org >

Sent: Wednesday, May 31, 2023 12:14 AM

To: Tagert, Stephen

Ce: Eckstein, Maya; Moran, John S.; Tyler Brooks; Hoernlein, Michael; Wyer, Kathryn (CIV;

Davison, Tom; Van Winter, Samantha; Webb, Sidney; Rick Boyer; King, Jeremy; Powell,
Lewis; Elliker, Kevin; Fairbanks, R. Dennis; Ross, Michaela; Jenkins, Johanna;
BLAIR.CONNELLY@Ilw.com; Damon.Porter@Iw.com; Ehson.Kashfipour@Iw.com;
Zachary.Rowen@lw.com; Sehla Ashai

Subject: Re: Doe v Mast third-party subpoena: John Gibson

Caution: This email originated from outside of the firm.

Defendant Richard Mast incorporates and joins in the objections set forth in Mr. Moran's letter which was attached to
the email below.

David Yerushalmi*

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